         Case 2:19-bk-14361-ER Doc 15 Filed 06/12/19 Entered 06/12/19 21:51:16                                               Desc
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                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 19-14361-ER
Sofiyan Dovlatyan                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-2                  User: admin                        Page 1 of 1                          Date Rcvd: Jun 10, 2019
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 12, 2019.
db             +Sofiyan Dovlatyan,   1245 Orange Grove Ave,   Glendale, CA 91205-4027

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 12, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 10, 2019 at the address(es) listed below:
              Anita Khachikyan    on behalf of Debtor Sofiyan Dovlatyan ak@khachlaw.com
              David M Goodrich (TR)   dgoodrich@wgllp.com,
               c143@ecfcbis.com;dgoodrich11@ecf.axosfs.com;lrobles@wgllp.com
              Rejoy Nalkara    on behalf of Creditor   BMW Financial Services NA, LLC, c/o AIS Portfolio
               Services, LP rejoy.nalkara@americaninfosource.com
              United States Trustee (LA)   ustpregion16.la.ecf@usdoj.gov
              Valerie Smith    on behalf of Interested Party    Courtesy NEF claims@recoverycorp.com
              Vincent V Frounjian   on behalf of Creditor    HONDA LEASE TRUST vvf.law@gmail.com
                                                                                             TOTAL: 6
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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Vincent V. Frounjian, Esq.       BAR NO. 170424
 LAW OFFICES OF VINCENT V. FROUNJIAN, P.C.                                                               FILED & ENTERED
 1010 N. Central Avenue, Suite 420
 Glendale, California 91202
 Telephone: (818) 859-7511                                                                                       JUN 10 2019

                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY evangeli DEPUTY CLERK




     Attorney for Movant
     Movant appearing without an attorney

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA ± LOS ANGELES DIVISION

 In re:                                                                       CASE NO.:         2:19-bk-14361-ER
                                                                              CHAPTER:          7
 SOFIYAN DOVLATYAN,
                                                                                        ORDER GRANTING MOTION FOR
                                                                                        RELIEF FROM THE AUTOMATIC
                                                                                         STAY UNDER 11 U.S.C. § 362
                                                                                           (PERSONAL PROPERTY)

                                                                              DATE :       06/10/19
                                                                              TIME :       10:00 a.m.
                                                                              COURTROOM : 1568
                                                                              PLACE : 255 E. Temple Street, Los Angeles, CA 90012
                                                              Debtor(s).
 Movant: HONDA LEASE TRUST



1. The Motion was:                      Opposed               Unopposed               Settled by stipulation

2. The Motion affects the following personal property (Property):

          Vehicle (year, manufacturer, type and model): 2015 HONDA ACCORD

          Vehicle identification number: 1HGC R2F3 2FA1 45383
          Location of vehicle (if known): DEBTOR HAS POSSESSION OF THE VEHICLE

          Equipment (manufacturer, type, and characteristics):

          Serial number(s):
          Location (if known):



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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           Other personal property (type, identifying information, and location):




           See Exhibit             attached to the Motion.

3. The Motion is granted under:
      a.        11 U.S.C. § 362 (d)(1)
      b.        11 U.S.C. § 362 (d)(2)

4.         As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.        7HUPLQDWHGDVWRWKH'HEWRUDQGWKH'HEWRU¶VEDQNUXSWF\HVWDWH
      b.        Modified or conditioned as set for the in Exhibit                    to this order.
      c.        Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
                remedies regarding the Property do not constitute a violation of the stay.

5.         Movant may enforce its remedies to repossess or otherwise obtain possession and dispose of the Property in
           accordance with applicable nonbankruptcy law, but may not pursue any deficiency claim against the Debtor or
           property of the estate except by filing a proof of claim pursuant to 11 U.S.C. § 501.

6.         Movant must not repossess the Property before (date)                                   .

7.         The stay remains in effect subject to the terms and conditions set forth in the Adequate Protection Agreement to
           this order.

8.         In chapter 13 cases, the trustee must QRWPDNHDQ\IXUWKHUSD\PHQWVRQDFFRXQWRI0RYDQW¶VVHFXUHGFODLPDIWHU
           entry of this order7KHVHFXUHGSRUWLRQRI0RYDQW¶VFODLPLVGHHPHGZLWKGUDZQXSRQHQWU\RIWKLV order without
           SUHMXGLFHWR0RYDQW¶VULJKWWRILOHDQDPHQGHGXQVHFXUHGFODim for any deficiency. Absent a stipulation or order to
           the contrary, Movant must UHWXUQWRWKHWUXVWHHDQ\SD\PHQWVUHFHLYHGIURPWKHWUXVWHHRQDFFRXQWRI0RYDQW¶V
           secured claim after entry of this order.

9.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated or modified as to the co-debtor, as to the
           same terms and conditions.

10.        The 14-day stay provided by FRBP 4001(a)(3) is waived.

11. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
    of the Bankruptcy Code.

12.        This order is binding in any other bankruptcy case purporting to affect the Property filed not later than 2 years
           after the date of entry of such order, except that a debtor in a subsequent case may move for relief from the order
           based upon changed circumstances or for good cause shown, after notice and hearing.

13.        This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the Property.

14.        This order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
           interest in the Property for a period of 180 days, so that no further automatic stay shall arise in that case as to the
           Property.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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15.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be
      a.        without further notice.
      b.        upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                nonbankruptcy law.

16.        Other (specify):




                                                                            ###




                   Date: June 10, 2019




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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